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                       IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

 JARED CARTY and PIMPORN CARTY                     :
                                                   :
                Plaintiffs,                        :     C.A. No. 5:20-cv-05585-JFL
                                                   :
                                                   :
        v.
                                                   :
                                                   :
 STEEM MONSTERS CORP. (d/b/a                       :
 SPLINTERLANDS) (successor to Steem                :
 Monsters, LLC), STEEM ENGINE CORP.,               :
 BLAIR JESSE REICH, and MATTHEW J.                 :
 ROSEN,                                            :
                                                   :
                Defendants.                        :
                                                   :
                                                   :

                                      NOTICE OF SERVICE


     I certify that on March 15, 2022, a true and accurate copy of Defendants' First

Supplemental Requests for Production of Document, Directed to Plaintiffs was served via

email and regular mail on the following:

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 Monsters LLC), Steem Engine Corp., Blaire Jesse       Monsters LLC), Steem Engine Corp., Blaire Jesse
 Reich and Matthew J. Rosen                            Reich and Matthew J. Rosen
